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 8
                                    UNITED STATES DISTRICT COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                             SAN JOSE DIVISION
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     FREE RANGE CONTENT, INC., a California               No. 5:14-cv-02329-BLF
12   corporation, COCONUT ISLAND
     SOFTWARE, INC., a Hawaii corporation,
13   TAYLOR CHOSE, a Minnesota resident, and              [PROPOSED] FINAL JUDGMENT
     MATTHEW SIMPSON, a British Columbia,
14
     Canada resident, on behalf of themselves and all
15   others similarly situated,

16                                         Plaintiffs,

17          v.
18   GOOGLE LLC, a Delaware corporation,
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                                         Defendant.
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        Case 5:14-cv-02329-BLF Document 276-2 Filed 01/24/19 Page 2 of 3




 1                                    [PROPOSED] FINAL JUDGMENT
 2          For the reasons set forth in this Court’s Final Approval Order, in the above-captioned matter as

 3   to the following class of persons:

 4          All persons or entities Google’s records indicate are located within the United States,
            American Samoa, Puerto Rico, the United States Minor Outlying Islands, the U.S. Virgin
 5          Islands, or Canada, whose AdSense account Google disabled or terminated on any date
            between May 20, 2010 and the date the Court grants Preliminary Approval of this
 6          Settlement, and whose last AdSense unpaid amounts Google withheld in their entirety, and
            permanently, on any date between May 20, 2010 and the date the Court grants Preliminary
 7          Approval of this Settlement in connection with such disablement or termination, and
            where the sum withheld totals $10 or more,
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            JUDGMENT IS HEREBY ENTERED, pursuant to Federal Rule of Civil Procedure 58, as to
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     Plaintiffs Free Range Content, Inc., Coconut Island Software, Inc., Taylor Chose, and Matthew Simpson
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     (collectively, Plaintiffs); the above-specified class; and Defendant Google LLC (Google) on the terms and
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     conditions of the Class Action Settlement Agreement (the Settlement Agreement or Settlement) approved
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     by the Court’s Final Approval Order, dated ________________________, 2019.
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            1.      The Court, for purposes of this Final Judgment, adopts the terms and definitions set forth
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     in the Settlement Agreement incorporated into the Final Approval Order.
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            2.      Upon the Effective Date of the Settlement Agreement, all Released Claims of the Releasing
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     Named Plaintiffs and Releasing Class Members are hereby released as against the Releasees, as defined in
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     the Settlement Agreement; provided, however, that those Settlement Class Members identified on the
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     Exclusion List attached as Exhibit A hereto are excluded from the Releasing Class Members, having timely
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     opted-out or excluded themselves from the Settlement, such that they are not deemed to have Released
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     Claims under the Settlement or this Judgment.
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            3.      The claims of Plaintiffs and the Settlement Class are dismissed on the merits and with
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     prejudice in accordance with the Court’s Final Approval Order.
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            4.      The Parties shall bear their own attorneys’ fees, costs, and expenses, except as otherwise
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     set forth in the Final Approval Order or any separate Order(s) on or related to Plaintiffs’ Motion for
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     Service Awards, Attorneys’ Fees, and Costs and Expenses.
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            5.      This document constitutes a final judgment and separate document for purposes of
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     Federal Rule of Civil Procedure 58(a).
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     [PROPOSED] FINAL JUDGMENT - 1
     Case No.: 5:14-cv-02329-BLF
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 1          6.      The Court finds, pursuant to Rule 54(a) of the Federal Rules of Civil Procedure, that this

 2   Final Judgment should be entered forthwith. Accordingly, the Clerk is hereby directed to enter this Final

 3   Judgment.

 4          IT IS SO ADJUDGED AND ORDERED.

 5          JUDGMENT ENTERED this day of ___________________, 2019.

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 7                                                         Honorable Beth Labson Freeman
                                                           United States District Judge
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     [PROPOSED] FINAL JUDGMENT - 2
     Case No.: 5:14-cv-02329-BLF
